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 1                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                   CRIMINAL 08-175 (ADC)
 7        [16] ALEXIS SOTO-AVILES A/K/A
          “CALZONCILLO”
 8
          Defendant.
 9
10                       MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                             RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
12   I.         Procedural Background
13              On May 7, 2008, a grand jury returned a seven-count indictment against [16] Alexis Soto-Avilés
14   a/k/a “Calzoncillo”(hereinafter referred to as “defendant”) and eighteen other individuals. Docket 3.
15   Defendant was charged in counts one, two, three, four, five, and seven of the indictment. On August
16   14, 2008, defendant filed a motion for change of plea. Docket 149.
17              The defendant has agreed to plead guilty to count one of the indictment. Count one charges that
18   beginning on a date unknown, but no later than in or about the year 2005, and continuing up to and until
19   the return of the indictment, in the Municipality of Ponce, District of Puerto Rico and within the
20   jurisdiction of this Court, defendant Alexis Soto-Avilés a/k/a “Calzoncillo” did knowingly and
21   intentionally, combine, conspire, and agree with other defendants and with diverse other persons,
22   known and unknown to the grand jury, to commit and offense against the United States, that is, to
23   knowingly, and intentionally possess, with intent to distribute and/or to distribute controlled substances,
24   to wit: in excess of one (1) kilogram of heroin, a Schedule I Narcotic Controlled Substance; and/or in
25   excess of fifty (50) grams of cocaine base, a Schedule II Narcotic Drug Controlled Substance; and/or
26   in excess of five (5) kilograms of cocaine, a Schedule II, Narcotic Drug Controlled Substance; and/or
27   in excess of one hundred (100) kilograms of marijuana, a Schedule I, Controlled Substance; within one
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 2   thousand (1,000) feet of the real property comprising a public or private school, as prohibited by Title

 3   21, United States Code, Sections 841(a)(1) and 860, all in violation of Title 21, United States Code,

 4   Section 846.

 5   II.      Consent to Proceed Before a Magistrate Judge

 6            On August 19, 2008, while assisted by attorney Wilfredo Ríos-Méndez, Esq., the defendant, by

 7   consent, appeared before the undersigned in order to change his previous not guilty plea to a plea of

 8   guilty as to count one of the indictment. In open court the defendant was questioned as to the purpose

 9   of the hearing being held and was advised of: (a) the nature and purpose of the hearing; (b) the fact that

10   all inquiries were to be conducted under oath and that it was expected that his answers would be

11   truthful; (c) the potential consequences of lying under oath (such as a perjury charge); and (d) his right

12   to have the change of plea proceedings presided by a district judge instead of a magistrate judge. The

13   defendant was also explained the differences between the appointment and functions of the two. The

14   defendant consented to proceed before the undersigned magistrate judge.

15   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure

16            A.     Rule 11(c)(1) Requirements

17                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
18            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
19            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
20            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
21            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
22
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
23
              B. Admonishment of Constitutional Rights
24
              To assure defendant’s understanding and awareness of his rights, defendant was advised of his
25
     right:
26
              1.   To remain silent at trial and be presumed innocent, since it is the government who has the
27
     burden of proving him guilt beyond a reasonable doubt.
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 2            2.   To testify or not to testify at trial, and that no adverse inference could be made in relation

 3    to his decision not to testify.

 4            3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and

 5    cross examine the government witnesses, present evidence on his behalf, and challenge the

 6    government’s evidence.

 7           4.    To have a unanimous verdict rendered by a jury of twelve persons which would have to be

 8 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
 9           5.    To use the subpoena power of the court to compel the attendance of witnesses.

10           Upon listening to the defendant’s responses, observing his demeanor and his speaking with his

11 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
12 that defendant is aware of his constitutional rights.
13           C. Consequences of Pleading Guilty

14           Upon advising defendant of his constitutional rights, he was further advised of the consequences

15 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
16 guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
17 his statement that he is guilty.
18           Furthermore, the defendant was admonished of the fact that by pleading guilty he would not be

19 allowed later on to withdraw his plea because he eventually might disagree with the sentence imposed,
20 and that if he violates the conditions of supervised release, that privilege could be revoked and he could
21 be required to serve an additional term of imprisonment. He was also explained that parole has been
22 abolished.
23           In response to further questioning, defendant was explained and he understood that if convicted

24 on count one he will face twice the following maximum penalties: a term of imprisonment of not less
25 than ten (10) years or more than life, a fine not to exceed four million dollars ($4,000,000.00), and a term
26 of supervised release of at least five (5) years. Defendant was also made aware that the court must
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 2 impose a mandatory penalty assessment of one hundred dollars ($100) per offense pursuant Title 18,
 3 United States Code, Section 3013(a).
 4                The defendant was advised that the ultimate sentence was a matter solely for the court to decide

 5 in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
 6 him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.
 7                The defendant acknowledged that at this stage no guarantees or promises as to the sentence to

 8 be imposed had been made to him. The defendant was also explained what the supervised release term
 9 means and was urged to cooperate with the United States Probation Office.
10                D. Plea Agreement1

11                The parties have entered into a written plea agreement that, upon being signed by the

12 government, defense attorney and defendant, was filed and made part of the record. Defendant was
13 clearly warned and recognized having understood that:
14                1.   The plea agreement is not binding upon the sentencing court.

15                2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney

16 for the government which is presented as a recommendation to the court in regards to the applicable
17 sentencing adjustments and guidelines, which are advisory.
18                3.   The agreement provides a sentencing recommendation and/or anticipated sentencing

19 guideline computation, that can be either accepted or rejected by the sentencing court.
20                4.   In spite of the plea agreement and any sentencing recommendation contained therein, the

21 sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
22 maximum possible penalty prescribed by statute.
23                Defendant acknowledged having understood this explanation as well as all the terms and

24 conditions of the plea agreement.
25
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27
              1
                        “Plea agreement” refers to the agreement and its supplement, if any supplement was actually filed by the
28 parties.
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 2          E. Government's Evidence (Basis in Fact)

 3          The government presented a proffer of its evidence consistent with the version of facts of the plea

 4 agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
 5 and evidence to establish all the elements of the offense charged.
 6          F. Voluntariness

 7          The defendant accepted that no threats had been made to induce him to plead guilty and that he

 8 did not feel pressured to plead guilty. He came to the hearing for the purpose of pleading guilty and
 9 listened attentively as the prosecutor outlined the facts which would have been proven had the case
10 proceeded to trial.
11          G. Special Warnings

12          The defendant was explained, and he understood, that if the court accepts the plea agreement and

13 sentences him according to its terms and conditions, he will be surrendering his right to appeal the
14 sentence and judgment in this case.
15   IV.    Conclusion

16          The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of

17 Criminal Procedure, and has entered a plea of guilty as to count one of the indictment. After cautioning
18 and examining the defendant under oath and in open court, concerning each of the subject matters
19 mentioned in Rule 11, as described in the preceding sections, I find that defendant [16] Alexis Soto-
20 Avilés is competent to enter this guilty plea, is aware of the nature of the offense charged and the
21 maximum statutory penalties that the same carries, understands that the charge is supported by the
22 government’s evidence, has admitted to every element of the offense charged, and has done so in an
23 intelligent and voluntary manner with full knowledge of the consequences of his guilty plea. Therefore,
24 I recommend that the court accept the guilty plea of the defendant and that the defendant be adjudged
25 guilty as to count one of the indictment.
26          This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 72(d)

27 of the Local Rules of Court. Any objections to the same must be specific and must be filed with the
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 2 Clerk of Court within ten (10) days of its receipt. Rule 72(d), Local Rules of Court; Fed. R. Civ. P.
 3 72(b). Failure to timely file specific objections to the report and recommendation is a waiver of the right
                                                                                   st
 4 to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1 Cir. 1986).
 5          SO RECOMMENDED.

 6          At San Juan, Puerto Rico, this 20th day of August, 2008.

 7
                                                   s/Marcos E. López
 8                                                 U.S. MAGISTRATE JUDGE

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